1544 (Rev. 10/20)

Case 2:22-cv-01719-ABIV hoGOWVER SHEHD5/04/22

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The J3 44 civil cover sheet and the information contained herein neither replace ner supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form,
purpose of initiating the civil docket sheet.

approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
(GEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
CAROLINE JEAN-BAPTISTE

(b) County of Residence of First Listed Plaintiff Delaware

DEFENDANTS

(EXCEPT IN US PLAINTIFF CASES)

(c) Attorneys (Firm Name, dddress, and Telephone Number)

Olugbenga O. Abiona, ABIOLA LAW PLLC,
215-625-0330, P. O. Box 3326, Cherry Hill, NJ 08034

NOTE;
THE TRACT

Attomeys (i Knows)

Caunty of Residence of First Listed Defendant

POST COMMERCIAL REAL ESTATE / 2r- al

(iN CLR PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

Is LAND CONDEMNATION CASES, USE THE LOCATION OF

IL. BASIS OF JURISDICTION (Pace au (x7 i One Box Ont)

CL US. Government [2]3 Federal Question

(For Diversin: Cases Galy)

Il. CITLZAENSHIP OF PRINCIPAL PARTIES (Place an “X" in Que Bow for Plainsiif

and Cre Bow for Defendant)

PTF DEF PTF DEF
Plaintiff (LS. Government Nor a Party) Citizen af This State 11) [1 teoporated or Principal Place Lia (4
of Busmess In This State
[J2 U.S. Gavernment (4 Diversity Citizen of Another State C12 [1 2 incorporated and Principal Place =] 5 [3
Defendant (indicate Citizenship of Parties in item (1) of Business [n Another State
Citizen or Subject of a CJ? (3 Foreign Nation Cle (6
Foreign Country
IV. NATURE OF SUIT spiace an “¥" in ne Box Oniy) Click here for: Nature of Suit Code Descriptions,
L___ CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | |é23 Drog Related Seizure 422 Appeal 28 USC 138 - 375 False Claims Act
120 Marine 4 310 Airplane (C1 365 Personal Injury « of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
[30 Miller Act 315 Airplane Product Product Liability jaan Other 28 USC [57 AT2Malh
140 Negotiable Instrument Liability (7) 267 Health Care/ 400 State Reapportionment
L30 Recovery of Overpayment ma 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
131 Medicare Act | 330 Federal Employers* Product Liability £30 Parent 450 Commerce
[32 Recovery of Defaulied Liability [J 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans — 440 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Comupt Organizations
(71153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets |] 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Chber Fraud 710 Fair Labor Standards Act of 2016 (15 USC 168i or bday
[- 16) Stockholders’ Suits 355 Motor Vehicle 371 Trwh in Lending Act | 485 Telephone Consumer
19) Other Contract Product Liability |] 380 Other Personal [_]720 Labor’ Management Protection Act
195 Contract Product Liability 360 Ceber Personal Property Damage Relations 861 HIA (1295) 40) CableSat TV
1%) Franchise Injury oO 383 Property Damage 740 Railway Labor Act $62 Black Lung (923) 850 Securities Commadities!
362 Personal Injury - Product Liability 741 Family and Medical $63 DIWC/DIWW (403(e)) Exchange
Medical Malpractice Leave Act S64 SSID Tithe XVI || 84) Other Statutory Actions

(___REALFROPERTY _|

 FRISONER PRTIMIONS |_| 790 Other Labor Litigation

210 Land Condemnation 440 Other Civil Rights Habeas Corpus:

230 Foreclosure 441 Voting -! 463 Alien Detainee
230 Rent Lease & Ejectment [x] 442 Employment 310 Motions to Vacate
240 Torts to Land 449 Housing! Sentence

245 Tort Product Liability
290 All Other Real Property

Accommodations
|] 445 Amer, w/Dsabilities «

330 General
335 Death Penalty

A

Ernploynvent Other:

| 446 Amer. w'Disabilities = 40 Mandamus & Ciher
Other $50 Civil Rights

_] 448 Education $44 Prison Condition

$60 Civil Detainee -
Conditions of
Confinement

|_| 791 Employee Retirement
Income Security Act

[IMMIGRATION |

$65 RST (405(2))

|_——<$<____——.

870 Taxes (U.S, Plaintiff
or Defendant)

|] #7) 1RS—Third Party

26 USC Tete

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#62 Naturalization Application
463 Other Immigration
Actions

J

#91 Agricultural Acts

893 Environmental Matters

895 Freedom. of Information
Act

890 Arbitration

$99 Administrative Procedure
Act Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

¥. ORIGIN (ftace an “x7 ta Gre Bax Only)

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify Transfer Direct File

VL CAUSE OF ACTION 42 U.S.C. Section 2000e-01 seq.

Cite the U.S. Civil Statute under which you are filing (De ner cite jurizdictional statutes unless diversity):

Brief description of cause:
Race Diserimintory Termination of Employment

VII. REQUESTED IN L] CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.BC¥.P. JURY DEMAND: Elves [No
VI. RELATED CASE(S) a

IF ANY TREO rec fh DOCKET NUMBER
DATE uy SIGNATURE OF oe —S—

FOR OFFICE USE ONLY !

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RECEIPT # AMOUNT APPLYING [FP

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JUD

MAG. JUDGE

Case 2:22-cv-01719-ABNITEDGNTFIEMPISTRIENEOOSIO4/22 Page 2 of 20
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff ta indicate the category of the case for the purpose of assignment to the appropriate calendar)
Address of Plaintiff: Kent Road, Upper Darby, PA
Address of Defendant: _ 1021 N. Hancock Street, Philadelphia, PA 19123
Place of Accident, Incident or Transaction: Philadelphia, PA
RELATED CASE, IF ANY:
Case Number: Judge: __ Date Terminated:

Civil cases are deemed related when Fes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes Nol
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction asa prior suit Yes Noly”
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or inftingement of a patent already in suit or any earlier Yes No |
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil tights Yes No |g4
case filed by the same individual?

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I certify that, to my knowledge, the within case Cis | ¥ is not _rtelated-toar i Hg or within one year previously terminated action in

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CIVIL: (Place a in one category only)
Federal Question Cases: & Diversity Jurisdiction Cases:

Indemnity Contract, Marine Contract, and All Other Contracts Insurance Contract and Other Contracts

FELA Airplane Personal Injury
Jones Act-Personal Injury Assault, Defamation
Antitrust Marine Personal Injury
Patent

Motor Vehicle Personal Injury
Other Personal Injury (Please specifiy:
Products Liability

Habeas Corpus Products Liability — Asbestos
Securities Act(s) Cases . Allother Diversity Cases

Social Security Review Cases (Please specify):
All other Federal Question Cases

{Please specify):

Labor-Management Relations
Civil Rights

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ARBITRATION CERTIFICATION
(The effect af this certification is to remove the case from eligibility for arbitration. |

, Olugbenga O. Abiona, Esq.

_, counsel of record or pro se plaintiff, do hereby certify:

v Pursuant to Local Civil Rule 33.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

Relief other than monetary damages is sought.
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NOTE: A trial de nove will be a trial by jury only if there has been compliance with F.B..P. 38,

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CAROLINE JEAN-BAPTISTE : CIVIL ACTION No.
Plaintiff, :
Vs.

POST COMMERCIAL REAL ESTATE, LLC
BEN CUTLER, and MELISSA SHERMAN
Defendants

COMPLAINT AND JURY DEMAND

I, INTRODUCTION
l. Plaintiff in the above captioned matter, claims a sum in excess of Three
Hundred Thousand Dollars ($300,000.00) in damages and upon her causes of
action, avers as follows:
a This action for monetary damages and other appropriate relief is brought by
Plaintiff to redress violations by Defendants Post Commercial Real Estate, LLC.,
(hereinafter “Post”), Ben Cutler (hereinafter “Cutler”) and Melissa Sherman
(hereinafter :Sherman’”’), rights secured to Plaintiff by the laws of the United States
of America and the Commonwealth of Pennsylvania.
3. This action arises under the Civil Rights Act 42 U.S.C. §1981, which
prohibits discrimination on the bases of race, and retaliation by employers and any

person because of complaints of race discrimination, and is brought by Plaintiff to
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redress arbitrary, malicious, reckless, improper, unlawful, willful, and deliberate
discrimination and retaliation by Defendants.

4. This action also arises under the PHRA which prohibits discrimination on
the bases of race and national origin, and retaliation by employers and any person
because of complaints of race and or national origin discrimination, and is brought
by Plaintiff to redress arbitrary, malicious, reckless, improper, unlawful, willful
and deliberate discrimination and retaliation by Defendants.

5. This action also arises under the Civil Rights Act 42 U.S.C. Section 2000e-
1, et seq., (Title VII) for the violation of Plaintiff's under that statute by Defendant
Post.

6. Plaintiff has exhausted her administrative remedies for these claims under
Title VII. On or about March 31, 2022, the EEOC issued Plaintiff her right to sue
Post in the federal courts. See copy attached.

II. JURISDICTION, VENUE AND PARTIES

8. The jurisdiction of this Court is invoked pursuant to Title 28 U.S.C. 1331,
which provides for the original jurisdiction of Plaintiff's claims arising under the
laws of the United States of America. This Court also has supplemental
jurisdiction over Plaintiff’s state law claims.

9. The venue of this Court is proper pursuant to the dictates of Title 28 U.S.C.

1391(c).
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10. Plaintiff, Caroline Jean-Baptiste, is an adult individual, residing at Kent
Road, Upper Darby, Pennsylvania, and belongs to the protected classes under the
applicable statutes in this case. Plaintiff is a black, African-American by race and
Haitian by national origin.

Il. Defendant, Post Commercial Real Estate, Inc., is a business entity registered
to operate business in the Commonwealth of Pennsylvania, with its offices located
at 1021 N. Hancock Street, Philadelphia, PA 19123.

12. Defendant Ben Cutler, Caucasian, is a citizen of the United States and upon
information and belief currently resides within the Commonwealth of
Pennsylvania,

13. Defendant Melissa Sherman, Caucasian, is a citizen of the United States, and
upon information and belief is a resident of Philadelphia.

II. BRIEF STATEMENT OF FACTS

14. Plaintiff was employed by Post as a Leasing Specialist 2 in or about
February 2012.

15. Plaintiff is black/African American by race and Haitian by national origin.
16. Plaintiff asserts that she has been subjected to race discriminatory adverse
actions and retaliatory actions by Defendant after complaining of race

discrimination to management.
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17. Plaintiff left Post’s employment briefly in February 2018 and returned in
March 2019.

18. Meaghan Nacey (hereinafter “Nacey”) (white female) was hired by Post in
May 2019 and Cham (white male) was hired by Post in March 2019,

19. Nacey and Plaintiff were the two Leasing Specialists at Post’s Piazza,
Northern Liberties properties.

20, Nacey was treated more favorably than Plaintiff by Post’s Leasing Manager
Ben Cutler (hereinafter “Cutler”) (white male),

21. In or about November 2019, right after a conversation with Cutler and
Nacey, Plaintiff was force-transferred from the Piazza properties by Cutler to
Post's Presidential City properties, resulting in a pay cut in Plaintiff's
compensation.

22. Plaintiff was the most senior Leasing Specialist at the Piazza properties and
one of the best leasing specialists, but Plaintiff was the one that was subjected to
this adverse action.

23. After Plaintiff was transferred out of the Piazza, Post replaced Plaintiff at the
Piazza properties with Kim Boyd (white female).

24. On or about July 7, 2020, Plaintiff met with Post’s H.R. Manager, Robin
Ilbak and complained about the racial bias and disparities treatment Plaintiff was

experiencing at Post Commercial involving Cutler,
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25. On or about April 27, 2021 Plaintiff and Jacqueline DeLawrence (hereinafter
“DeLawrence”) (white female), were sitting at their respective desks, working and
on the phone, when Cutler and Melissa Sherman (hereinafter “Sherman”) (white
female) walked into the office.

26. Cutler walked directly to Plaintiff, while Plaintiff was still on the phone with
a client, and introduced Sherman as the new Assistant Leasing Manager. Plaintiff
made eye contact and said hello and pointed to the phone, indicating she was with
a client on the phone. But, Cutler leaned over to Plaintiff and said to Plaintiff in a
derogatory manner, ““What’s up with you not greeting me?”

27. In front of Sherman and DeLawrence, as well as clients who were also in the
office, Cutler stated that Plaintiff needed to get up and greet him higher and better
than everybody else. Cutler then told Plaintiff to pack up her desk, that he was
sending Plaintiff home and that Plaintiff needed to leave the office immediately.
28. Cutler did not say anything to DeLawrence who was also sitting there and
had not greeted Cutler.

29, — Plaintiff told Cutler that she would call the Vice President to report Cutler’s
behavior. Cutler responded, “No, get out, leave. You can’t call anyone in here”.
30. Plaintiff was upset at Cutler’s harassment and hostile work environment,

which was racially motivated as he did not say anything to DeLawrence.
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31. This was also retaliatory because of Plaintiff's previous complaint about
Cutler’s racially motivated actions to Post’s HR Director.

32. Plaintiff left and went outside of the office and called Post’s Vice President,
and reported Cutler’s harassment to Post’s Vice President and Human Resources
Manager. They told Plaintiff to go to the Management office and sit there. After a
while they called and told Plaintiff to go back to the leasing office; that Cutler had
left.

33. Sometime following this incident, Sherman pulled Plaintiff aside and told
Plaintiff that she would now be reporting to Sherman and that Cutler said Plaintiff
was not to have any contact with him or Cham. This was again retaliatory.

34. On or about May 13, 2021, Plaintiff had a Zoom meeting with Post’s
Management where Plaintiff again brought up the discriminatory treatment she had
been subjected to and her desire to be promoted like other Leasing Specialists who
had been promoted (without Plaintiff provided the opportunity to compete for
those promotions), even though Plaintiff had more seniority with Post than these
white co-workers.

35. Nacey was made a Team Leader on or about February 3, 2021, Cham, who
was hired in March 2019, was promoted to Team Leader on or about December 2,

2020, and Sherman was hired as an Assistant Manager in or about May 2021,
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without Post giving Plaintiff an equal opportunity to be promoted to any of these
positions.

36. Cham was again promoted to Leasing Manager on or about July 2, 2021.
But, Plaintiff was not giving any opportunity to be promoted to this position as
well.

37. Defendant never posted these positions so that Plaintiff could have an equal
opportunity to compete for the positions.

38. Atthe May 13, 2021 Zoom meeting Plaintiff told Post’s management that
she had been with the company for almost ten years but was not promoted, and that
she would like to be promoted to at least a Team Leader. Plaintiff was told that
they wanted to give her a Team Leader position but Plaintiff would have to go
through a 30-day evaluation. This was the first time a 30-day evaluation was
required by Post in order to be promoted to the Team Leader position. Neither
Nacey nor Cham were made to go through a 30-day evaluation to receive their
promotions.

39, After this meeting Plaintiff sent an email to Post’s management and asked
why she had to go through a 30-day evaluation before she could be promoted to
Team Leader and she asked what she had to do in those 30 days.

40. Three weeks later, Plaintiff got an email from Cutler who gave Plaintiff a list

of what Plaintiff should be doing as part of this so-called “evaluation”.
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41. On or about June 1, 2021, Plaintiff complained to Post’s H.R. Manager
Robin Ibak about Post’s systematic race discrimination practices of Plaintiff being
denied opportunities for promotion at the company for these positions.

42. Thereafter Plaintiff was told she would be sent to The Irvine property
located at 52™ and Baltimore Avenue in West Philadelphia as the Team Leader at
that property.

43. This in essence would have resulted again in less compensation to Plaintiff.
The Irvine property had only 285 units and was 90% occupied, while the
Presidential where Plaintiff worked had 1,021 units.

44. When Nacey was promoted to Team Leader by Cutler, she was given a base
salary of $50,000, which was higher than the Team Lead base salary at that time;
Team Lead salaries started at $45,000. Nacey was also awarded additional bonuses
higher than other team leads.

45. Plaintiff was also treated differently from non-black employees by Sherman.
46. Sherman verbally told DeLawrence that she felt that it was “easier to work
with the Caucasian agents in the office”, than to work with Plaintiff or her black
co-worker, Sasha Bowen. DeLawrence also complained about this exchange to
HR.

47. Plaintiff was falsely accused of being away from her desk for hours at a time

and was falsely written up for infractions Plaintiff did not commit.
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48. Plaintiff was also denied adjustment to her work schedule that other co-
workers were permitted to do.

49. Sherman told Plaintiff that Plaintiff was intimidating, and accused Plaintiff
of setting and being a bad example/influence on the Caucasian agents in the office.
50. On September 1, 2021 Plaintiff was issued a disciplinary warning notice
which falsely alleged that Plaintiff was insubordinate and falsely alleged to have
spoken to Sherman with “a tone that was demeaning and demanding” when
Plaintiff had not done so.

51. Yet, Caucasian co-worker Hunter Faddis, who had used a demeaning tone in
addressing Plaintiff in group text messages that Sherman was a part of was not
charged with violating the company policy. Neither was Cutler charged with
violating company policy when he harassed Plaintiff and sent Plaintiff out of the
office.

52, Cutler also told Plaintiff that she was a poor agent and that he would
continue “getting rid of the bad seeds” at the Presidential City office, after Cutler
terminated another female African American co-worker, Myriah Jackson, in front
of Plaintiff. Myriah was terminated in the conference room in the leasing office,

while Plaintiff was seated at her desk, and then walked out by Cutler.
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53. Both Sherman and Cutler made false, negative and derogatory statements
about Plaintiff's character to other Caucasian employees in the office and in the
company, as well as to the CEO, Mike Pestronk and Matt Pestronk.

54. After meeting and speaking with Human Resources numerous times about
unfavorable treatment and practices within the office and company, Plaintiff was
told by Human Resources to “not give anyone a reason to complain about you.”
Cutler has treated Caucasian co-workers more favorably than Plaintiff by taking
Meaghan Nacey out to lunch on multiple occasions, as well as verbal ly promising
Caucasian co-workers Ashley Leonard and Meaghan Nacey that he would promote
them to Leasing Managers. Cutler would also visit the Presidential City leasing
office purposely on days that Plaintiff would be scheduled off, to meet and engage
with the other Caucasian leasing agents.

55. Cutler had Meaghan Nacey reporting Plaintiff's whereabouts to Human
Resources, as well as telling Plaintiff directly that she could not contact or
communicate with anyone in the corporate office.

56. Cutler would also charge deposits quicker for the Caucasian Leasing Agents,
while making the African American agents wait for a deposit to be charged.

57. Plaintiff asserts that Defendants have violated her rights under Title VIL,

Section 1981 and the PHRA by subjecting Plaintiff to harassment and hostile work

environment because of her race and national origin, by denying Plaintiff equal

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opportunity for promotion to the positions of Team Leader, Assistant Leasing
Manager and Leasing Manager because of her race and national origin, all of
which Plaintiff was qualified for, and by subjecting Plaintiff to retaliatory actions
and retaliatory hostile work environment for engaging in protected activity.

58. The environment in the office has become increasingly stressful for Plaintiff,
and she has been experiencing stress and anxiety going into work and being in the
office. Plaintiff persistently complained to Defendant’s Human Resources about
the stress, hostility and anxiety she has been experiencing as a result of the conduct
of these managers.

59. On Saturday, February 5, 2022, Plaintiff heard Sherman and two Leasing
Agents Gabby and Alina discussing Plaintiffs personal time card, and their desire
to have Plaintiff transferred to another office, when Sherman then stated that, “She
was working on it”. In addition to that, while talking about Plaintiff, Gabby
referred to Plaintiff as “a miserable bitch” and that Plaintiff was a “weirdo”. No
disciplinary action was taken against Gabby by Sherman.

60. Thereafter Plaintiff requested a meeting with HR and Melissa Sherman to
discuss her unprofessional behavior in the leasing office regarding Sherman
discussing Plaintiff's personal information with other agents and engaging in

defamation of Plaintiff's character.

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61. This initial meeting was held via Zoom on March 17, 2022, where this
matter was discussed with Sherman.

62. Plaintiff has also been subjected to excessive monitoring by Defendants,
with Hunter and other employees secretly following Plaintiff around and reporting
back to Sherman when Plaintiff would come to the property for tours with her
clients. Hunter and Sherman constantly spoke ill of Plaintiff in the Rittenhouse
Hill leasing office, which Plaintiff disclosed to Defendant’s Human resources, with
no remedial action taken against these two individuals.

IV STATEMENT OF CLAIM

COUNT ONE- TITLE VII VIOLATION-RACE AND NATIONAL ORIGIN
DISCRIMINATION
PLAINTIFF v. DEFENDANT POST

63. Plaintiff incorporates by reference all allegations alleged in paragraphs |
through 62 above as if same were fully set forth at length herein.

64. The acts and conduct of Defendant Post, acting through its managers,
directors, supervisors and agents as stated above where they subjected Plaintiff to
racial and national origin motivated harassment and hostile work environment,
failure to promote to Team Leader, Assistant Leasing Manager and Leasing
Manager were violations of Title VII of the Civil Rights Act.

65. Asa direct and proximate result of the said discriminatory practices of
Defendants, Plaintiff has sustained loss of wages and earnings, loss of benefits,

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loss of future earning power, loss of back pay, as well as mental anguish,

emotional distress, humiliation, and damage to reputation.

COUNT TWO- SECTION 1981 VIOLATION-RACE DISCRIMINATION
PLAINTIFF v. ALL DEFENDANTS

66. Plaintiff incorporates by reference all allegations alleged in paragraphs 1
through 65 above as if same were fully set forth at length herein.

67. The acts and conduct of Defendants as stated above where they subjected
Plaintiff to racially motivated harassment and hostile work environment, failure to
promote to Team Leader, Assistant Leasing Manager and Leasing Manager were
violations of Section 1981 of the Civil Rights Act.

68. Asa direct and proximate result of the said discriminatory practices of
Defendants, Plaintiff has sustained loss of wages and earnings, loss of benefits,
loss of future earning power, loss of back pay, as well as mental anguish,
emotional distress, humiliation, and damage to reputation.

COUNT THREE — TITLE VII VIOLATION-RETALIATION
PLAINTIFF v. DEFENDANT POST

69, Plaintiff incorporates by reference all allegations alleged in paragraphs |
through 68 as if same were fully set forth at length herein.
70. Plaintiff exercised her rights under Title VII by opposing what she

reasonably believed were violations of her rights by Defendants’ conducts, and

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complaining to Defendants and the EEOC about been subjected to racial and
national origin motivated discriminatory actions.

71. After complaining to Defendants and the EEOC of been subjected to
discriminatory conducts, Plaintiff was subjected to retaliatory actions by
Defendants for engaging in protected activities under the Civil Rights Act, Title
VIL.

72. The acts and conducts of Defendant Post through its managers, directors,
executives and agent as stated above where Plaintiff was subjected to adverse
employment actions, including retaliatory harassment and hostile work
environment after complaining of and/or opposing race and/or national origin
discrimination are violations of Title VII.

73, Asa direct and proximate result of said violation of the Civil Rights Act,
Plaintiff has sustained loss of wages and earnings, loss of benefits, loss of future
earning power, loss of back pay, front pay, and interest due therein as well as

mental anguish, emotional distress, humiliation, and damages to reputation.

COUNT FOUR — SECTION 1981 VIOLATION-RETALIATION
PLAINTIFF v. ALL DEFENDANTS

74. Plaintiff incorporates by reference all allegations alleged in paragraphs |

through 73 as if same were fully set forth at length herein.

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75. Plaintiff exercised her rights under Section 1981 by opposing what she
reasonably believed were violations of her rights by Defendants’ conducts, and
complaining to Defendants and the EEOC about been subjected to racially
motivated discriminatory actions.

76. After complaining to Defendants and the EEOC of been subjected to
discriminatory conducts, Plaintiff was subjected to retaliatory actions by for
engaging in protected activities under the Civil Rights Act, Section 1981.

77. The acts and conducts of Defendants as stated above where Plaintiff was
subjected to adverse employment actions, including retaliatory harassment and
hostile work environment after complaining of and/or opposing race discrimination
are violations of the Civil Rights Act 42 U.S. C. Section 1981.

78. Asa direct and proximate result of said violation of the Civil Rights Act,
Plaintiff has sustained loss of wages and earnings, loss of benefits, loss of future
earning power, loss of back pay, front pay, and interest due therein as well as

mental anguish, emotional distress, humiliation, and damages to reputation.

COUNT FIVE- PHRA VIOLATION
RACE AND NATIONAL ORIGIN DISCRIMINATION
PLAINTIFF vs. ALL DEFENDANTS

79. Plaintiff incorporates by reference all allegations alleged in paragraphs |

through 78 above as if same were fully set forth at length herein.

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80. The acts and conduct of Defendants as stated above where Plaintiff was
subjected to racial and national origin motivated discrimination and harassment
and hostile work environment were violations of the PHRA.

81. Defendants Cutler and Sherman as stated above aided and abetted in the
racial and national origin motivated discrimination and harassment and hostile
work environment of the Plaintiff by Defendant Post.

82. Asa direct and proximate result of the said discriminatory practices of
Defendants in violation of the PHRA, Plaintiff has sustained loss of wages and
earnings, loss of benefits, loss of future earning power, loss of back pay, as well as

mental anguish, emotional distress, humiliation, and damage to reputation,

COUNT SIX — PHRA VIOLATIONS — RETALIATION
PLAINTIFF v. ALL DEFENDANTS

83. Plaintiff incorporates by reference all allegations alleged in paragraphs |
through 82 as if the same were fully set forth at length herein.

84. The acts and conduct of Defendants as stated above where Plaintiff was
subjected to adverse actions by Defendants after complaining and or opposing race
and national origin discrimination were violations of the PHRA.

85. Defendants Cutler and Sherman aided and abetted the retaliatory actions

taken against Plaintiff by Defendant Post.

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86. Asa direct and proximate result of the said retaliatory practices of
Defendants, Plaintiff has sustained loss of wages and earnings, loss of benefits,
loss of future earning power, loss of back pay, front pay, and interest due therein as
well as mental anguish, emotional distress, humiliation, and damages to reputation.
PRAYER FOR RELIEF

Wherefore, Plaintiff respectfully demands judgment against Defendants and

request that this Honorable Court:

A. Enter judgment against Defendants for back pay, front pay, loss of income,
loss of benefits, pre and post judgment interests, costs of suit, compensatory
damages, punitive damages, attorneys’ fees and expert witness fees as
permitted by law; and

B. Award such other equitable relief, as the Court may deem necessary and
just, including but not limited to an Order to make whole.

JURY TRIAL DEMAND

Plaintiff demands a jury trial on all questions of fact rais

Complaint. SS
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Olugbenga O. Abfona, Esquire
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Dated: May 3, 2022

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EEOC Form 161-8 (01/2023) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

NOTICE OF RIGHT TO SUE (JSSUED ON REQUEST)

To: Miss Caroline Jean-Baptiste From: Philadelphia District Office

34 Kent Road 801 Market St, Suite 1000

UPPER DARBY, PA 19082 Philadelphia, PA 19107
EEOC Charge No. EEOC Representative Telephone No,
530-2021 -03783 Legal Unit (267) 589-9707

(See also the additional information enclosed with this orm.)

NOTICE TO THE PERSON AGGRIEVED:

Title VH of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VIL, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS

of your receipt of this notice: or your right to sue based on this charge will be lost, (The time limit for filing suit based on a claim under
state law may be different.)

More than 180 days have passed since the filing of this charge,
The EEOC is terminating its processing of this charge.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is nat required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due far
any violations that occurred more than 2 pears (3 years) before you file suit may nat be collectible.

If you file suit, based on this charge, please send a copy of your court complaint to this office,

On behalf of the Commission

Digitally Signed By: Karen MeDonough
03/3 12032

Enclosures(s} Karen McDonough

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